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                      SOUTIF RN DISTRICT OF FLORIDA
                                M IA M ID IV ISION

                     CaseNo.18-3533-M J-OTAZO-REYEZ (SEALED)



 UM TED STA TES O F A W R ICA ,
          Plaintiff,




 V A SILE M EREA CR E,
             Defendantts).
                         /



       TH IS CA U SE cam e before the C ourt and pursuant to proceedings it is

 thereupon,PUR SU A N T TO Tlv A RREST O F Tlv A B O V E N A G D

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 D O N E A N D O R D E R E D atM iam i,Florida.



 D ated:10/17/2018




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